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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      PORTLAND DIVISION


                                                CASE NO. 3:20-cv-00072-AC
Dennis Cadorniga,

                       Plaintiff,               ORDER DISMISSING DEFENDANTS
                                                OCWEN LOAN SERVICING, LLC AND
        v.                                      PHH MORTGAGE CORPORATION WITH
                                                PREJUDICE
Equifax Information Services, LLC;
Experian Information Solutions, Inc.;           Judge:   Hon. John V. Acosta
Ocwen Loan Servicing, LLC; PHH
Mortgage Corporation; and DOES 1
through 100 inclusive,

                       Defendants.

        Upon review of the Agreed Motion to Dismiss with Prejudice the Claims Against

Defendants Ocwen Loan Servicing, LLC and PHH Mortgage Corporation asserted by Plaintiff

Dennis Cadorniga, and after considering the same, it is hereby

        ORDERED that the Motion is GRANTED and that Ocwen Loan Servicing, LLC and PHH

Mortgage Corporation are DISMISSED WITH PREJUDICE from this action pursuant to Federal

Rule of Civil Procedure 41(a)(2).

        IT IS FURTHER ORDERED that each party shall bear their own costs and attorneys’

fees.

        Dated this 12th day of January, 2021.

                                                           _____________________________
                                                           HON. JOHN V. ACOSTA



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                                    Ocwen Loan Servicing, LLC
                                        and PHH Mortgage
                                     Corporation with Prejudice
